
654 S.E.2d 702 (2007)
STATE
v.
Bryant Lamont GWYNN.
No. 158PA07.
Supreme Court of North Carolina.
November 8, 2007.
Robert C. Montgomery, Special Deputy Attorney General, Thomas J. Keith, District Attorney, for State of NC.
Kathryne L. VandenBerg, Raleigh, for Gwynn.
Prior report: ___ N.C.App. ___, 641 S.E.2d 719.

ORDER
Upon consideration of the petition filed by Attorney General on the 3rd day of April 2007 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 8th day of November 2007."
Upon consideration of the petition filed on the 3rd day of April 2007 by Attorney General in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 8th day of November 2007."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
